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 8

 9                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
10
     IN RE TESLA, INC. SECURITIES                        Case No. 3:18-cv-04865-EMC
11   LITIGATION
                                                         PLAINTIFF’S NOTICE OF MOTION
12
                                                         AND MOTION FOR TEMPORARY
13                                                       RESTRAINING ORDER

14

15          PLEASE TAKE NOTICE that Plaintiff Glen Littleton, by his counsel, hereby moves the

16   Court for a temporary restraining order enjoining Defendant Elon R. Musk (“Musk”) from speaking

17   with the press, media, news, and other public outlets about this case or the underlying facts until

18   the end of trial. Plaintiff requests a hearing on the motion as soon as practicable in light of the

19   irreparable harm Plaintiff will face if Musk is allowed to continue making statements about the case

20   and its underlying facts in the public sphere.

21          PLEASE TAKE FURTHER NOTICE that this motion is made in response to Mr. Musk’s

22   TED Talk in Vancouver on April 14, 2022 during which he emphatically proclaimed in reference

23   to his August 7, 2018 tweets, inter alia, that “funding was actually secured – I want to be clear

24   about that – in fact that gives me a good opportunity to clarify that – and funding was indeed

25   secured” before going on to refer to the SEC as “bastards” and claiming that he settled with the

26   agency only because they had a “gun to [his] child’s head” and was “forced to admit that [he] lied

27   . . . to save Tesla’s life and that’s the only reason.” These statements come on the heels of Mr.

28   Musk’s recent and highly publicized motion before Hon. Alison J. Nathan in the United States

      PLAINTIFF’S NOTICE OF MOTION AND                                     CASE NO. 3:18-CV-04865-EMC
      MOTION FOR TEMPORARY RESTRAINING ORDER
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 1   District Court for the Southern District of New York to void the consent decree he signed to settle

 2   the SEC’s lawsuit against him as well as his admitted plans to use the upcoming trial in this case

 3   “to clear the record” about the “terrible SEC settlement.”

 4          PLEASE TAKE FURTHER NOTICE that this motion is based on the accompanying

 5   Memorandum of Points and Authorities, Declaration of Adam C. McCall and the exhibits attached

 6   thereto, the arguments of counsel, and any other matters properly before this Court. Pursuant to

 7   Paragraph 11 of the Court’s Civil Standing Order – General, Plaintiff also submits herewith a

 8   proposed order

 9          PLEASE TAKE FURTHER NOTICE that, pursuant to Civil L.R. 65-1(b), Plaintiff’s

10   counsel provided notice of this motion by email to Defendants’ counsel of record on April 15,

11   2022. Plaintiff’s counsel has also provided a copy of these motion papers to counsel for Defendants.

12   Dated: April 15, 2022                        Respectfully submitted,

13                                                LEVI & KORSINSKY, LLP
14
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                              PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER
                                           CASE NO. 3:18-CV-04865-EMC
     Case 3:18-cv-04865-EMC Document 395 Filed 04/15/22 Page 3 of 3


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                 PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER
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